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 6

 7
                     IN THE UNITED STATES DISTRICT COURT
 8                FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9   ROTHSCHILD BROADCAST
     DISTRIBUTION SYSTEMS, LLC,
10                                                 Case No.: 4:21-cv-06698-YGR
                  Plaintiff,
11
            v.                                     PATENT CASE
12

13
     ELLATION, LLC,                                NOTICE OF VOLUNTARY
                                                   DISMISSAL WITHOUT
14
                  Defendant.                       PREJUDICE
15
           Plaintiff Rothschild Broadcast Distribution Systems, LLC (“Plaintiff” and/or
16
     “RBDS”) files this Notice of Voluntary Dismissal Without Prejudice pursuant to
17
     Federal Rule of Civil Procedure 41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an
18
     action may be dismissed by the plaintiff without order of court by filing a notice of
19
     dismissal at any time before service by the adverse party of an answer. Accordingly,
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     Plaintiff hereby voluntarily dismisses this action against Defendant Ellation, LLC
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     without prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear its own fees
22
     and costs.
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                       NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
        Case 4:21-cv-06698-YGR Document 15 Filed 11/08/21 Page 2 of 2




 1   Dated: November 8, 2021                Respectfully submitted,
 2
                                            /s/ Stephen M. Lobbin
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 8                                          Attorney(s) for Rothschild Broadcast
                                            Distribution Systems, LLC
 9

10                              CERTIFICATE OF SERVICE
11         I hereby certify that on November 8, 2021, I electronically transmitted the
12   foregoing document using the CM/ECF system for filing, which will transmit the
13   document electronically to all registered participants as identified on the Notice of
14   Electronic Filing, and paper copies have been served on those indicated as non-
15   registered participants.
16                                          /s/ Stephen M. Lobbin
                                            Stephen M. Lobbin
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                        NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
